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                          UNITED STATES BANKRUPTCY COURT

                               MIDDLE DISTRICT OF LOUISIANA


 IN RE:    MARTIN, APRIL                                                CASE NO. 18-10303

                 DEBTOR                                                 CHAPTER 7


                                              ORDER

       Considering the Trustee's Motion to Sell Property of the Estate, the lack of objection

thereto, and applicable law;

       IT IS ORDERED that Martin A. Schott, Trustee, is authorized to sell to APRIL MARTIN

for the sum of $370.00 cash by private sale, without any warranty or recourse whatsoever on the

part of the Trustee, even as to the return of the purchase price, but with full substitution and

subrogation to all rights and actions of warranty against all preceding owners, vendors or

mortgagors, the property described as follows:

               32" TV; 20" TV; Stereo; DVD Player; Video Games; Hairdryer;
               Telephone; Cellphone; Computer

       IT IS FURTHER ORDERED that the property is being transferred "as is, where is" and

subject to any and all taxes and liens that may affect it.

       Baton Rouge, Louisiana, May 24, 2019.

                                    s/ Douglas D. Dodd
                                   DOUGLAS D. DODD
                           UNITED STATES BANKRUPTCY JUDGE
